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 4 FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     LUCIO HERNANDEZ
 6
 7               IN THE UNITED STATES DISTRICT COURT FOR THE
 8                      EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,      )               CR.-S-07-0268-FCD
10                                  )
          PLAINTIFF,                )               STIPULATION AND ORDER
11                                  )               TO CONTINUE STATUS CONFERENCE
          v.                        )               TO APRIL 7, 2008
12                                  )
     LUCIO HERNANDEZ ,et al.,       )
13                                  )
                                    )
14        DEFENDANTS.               )
     _______________________________)
15
16         Plaintiff United States of America, by its counsel, Assistant United States
17   Attorney, Mr. Heiko Coppola and the defendants: Eliseo Gomez represented by his
18   attorney Mr. Matthew C. Bockmon; Jacinto Robles, represented by his attorney Mr.
19   Michael Hansen; Marco Robles-Guerrero represented by his attorney Ms. Dina L.
20   Santos; and Lucio Hernandez, represented by his attorney, Mr. James R. Greiner,
21   hereby stipulate and agree that the status conference calendared for Monday, March 3,
22   2008, at 10:00 a.m., before the Honorable District Court Judge Frank C. Damrell, Jr.,
23   shall be continued to Monday, April 7, 2008, at 10:00 a.m.
24         This date was cleared with the Court’s courtroom deputy clerk. Ms. Maureen
25   Price (standing in for her today was Michelle), as being available.
26         The parties stipulate and agree that time shall be excluded from the speedy trial
27   act from Monday, March 3, 2008, to and including Monday, April 7, 2008, under Title
28                                              1
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 1   18 section 3161(h)(8)(B)(ii) and Local Code T-4 for attorney preparation in the case
 2   as all defense counsel are in the process of reviewing the discovery provided to the
 3   defense by the government. In addition, the government on Wedneday, February 27,
 4   2008, made a formal package offer to settle the case which needs to be reviewed by
 5   the parties and their respective clients. The fact that it is a package offer brings the
 6   possibility of needing a group conference meeting between all the defendants and all
 7   the defense counsel. This would require coordination with the U.S. Marshal service to
 8   allow this to happen.
 9         The background of the case to date is as follows:
10         The government filed the criminal complaint on June 1, 2007. On that date
11   three defendants (Eliseo Gomez, Marco Antonio Robles-Guerrero, and Lucio
12   Hernandez) made their initial appearance. All three of these defendants were detained
13   and remain in custody. ( See Docket Entry 1, 6, 7, 8, 9).
14         The fourth defendant, Jacinto Robles, made his initial appearance on June 5,
15   2007, with retained counsel. This defendant was ordered temporarily detained. A
16   detention hearing was continued from June 8 to June 14, 2007. At that detention
17   hearing, the defendant Jacinto Robles was detained and remains in custody. (See
18   Docket Entry 10, 13, 14, 15, 16).
19         The indictment was returned on June 14, 2007 and a status conference was set
20   for July 23, 2007. (See Docket Entry 17, 19).
21         A status conference had been set for July 23, 2007, however, due to ongoing
22   production of discovery, the parties agreed and the Court signed an order continuing
23   the July 23, 2007 status conference to Monday, August 27, 2007. Time was excluded
24   under the Speedy Trial Act under Local Code T-4 and Title 18 U.S.C. section
25   (h)(8)(B)(iv) from July 23, 2007 to August 27, 2007. (See Docket Entry 20, 21).
26         On August 24, 2007, the Court signed the stipulation filed on August 23, 2007,
27   continuing this matter to October 1, 2007, and excluding time under the speedy trial
28                                                2
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 1   act under Title 18 section 3161(h)(8)(B)(ii) and Local Code T-4 for attorney
 2   preparation in the case as all defense counsel are in the process of reviewing the
 3   discovery provided to the defense by the government. (See Docket Entry 26, 27).
 4         A status conference was held in open court on October 1, 2007, with a further
 5   status conference set for November 26, 2007. Time was excluded under the speedy
 6   trial act under local code T-4, under Title 18 section 3161(h)(8)(B)(ii) for attorney
 7   preparation in the case as all defense counsel are in the process of reviewing the
 8   discovery provided to the defense by the government. (See Docket Entry 28).
 9                A status conference was held in open court on November 26, 2007, with
10   a further status conference set for November 26, 2007. Time was excluded under the
11   speedy trial act under local code T-4, under Title 18 section 3161(h)(8)(B)(ii) for
12   attorney preparation in the case as all defense counsel are in the process of reviewing
13   the discovery provided to the defense by the government. (See Docket Entry 29).
14         On January 25, 2008, the Court signed a stipulation and Order continuing the
15   case to Monday, March 3, 2008. Time was excluded under the speedy trial act under
16   local code T-4, under Title 18 section 3161(h)(8)(B)(ii) for attorney preparation in the
17   case as all defense counsel are in the process of reviewing the discovery provided to
18   the defense by the government. (See Docket Entry 31).
19         The government as of Wednesday, February 27, 2008, made a formal package
20   offer to settle the case. this offer needs to be discussed with the individual clients. In
21   addition, because the government has made this a package offer, and because the
22   government has conditioned the package offer on all defendants accepting the package
23   offer, this more likely than not will require a conference with all of the defendants and
24   defense counsel. This will have to be arranged with the U. S. Marshal service and will
25   take coordination of calendars and space availability.
26         The government has continually produced discovery in this case which has been
27   and is being reviewed by defense counsel and with their respective clients. The
28                                                3
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 1   discovery the defense has received from the government to date, needs to be
 2   examined, analyzed and discussed with the defendants to ensure each defendant has
 3   knowledge of the case the government has produced to date. In addition, the need for
 4   investigation by the defense is required and the additional time will allow that to take
 5   place. The need for the extra time outweighs the interest in a speedy trial to allow
 6   defense counsel adequate time for proper and reasonable preparation of the case,
 7   including investigation, and the parties agree and stipulate to this fact. This also
 8   entails discussion with the clients (all of whom speak Spanish, thus requiring the need
 9   of an interpreter) of the discovery and the discussions with the client of the Federal
10   Criminal Justice System.
11           The parties stipulate and agree that time under the Speedy Trial Act shall
12   continue be excluded up to and including Monday, April 7, 2008, under Title 18
13   U.S.C. section 3161(h)(8)(B)(ii) and Local Code T-4.
14                                    Respectfully submitted,
15                                    McGREGOR W. SCOTT
                                      UNITED STATES ATTORNEY
16
                                      /s/ Heiko Coppola by E MAIL authorizationDATED:
17   2-28-08                          ________________________________
18                                    HEIKO COPPOLA
                                      Assistant United States Attorney
19                                    Attorneys for the Plaintiff
20                                    /s/ Matthew C. Bockmon by e mail authorization
     DATED: 2-28-08                   _____________________________________
21
                                      MATTHEW C. BOCKMON
22                                    Attorney for defendant Eliseo Gomez
23                                    /s/ Michael Hansen by e mail authorization
     DATED: 2-28-08                   _____________________________________
24
                                      MICHAEL HANSEN
25                                    Attorney for defendant Jacinto Robles
26
     ///
27
28                                                4
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 1                                /s/ Dina L. Santos by e mail authorization
     DATED: 2-28-08               _____________________________________
 2
                                  DINA L. SANTOS
 3                                Attorney for defendant Marco Robles-Guerrero
 4
 5
                                  /s/ James R. Greiner
 6   DATED: 2-28-08               _____________________________________
 7                                JAMES R. GREINER
                                  Attorney for defendant Lucio Hernandez
 8
 9
                                        ORDER
10
11
          FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
12
13
14   DATED: February 28, 2008.
15                                          _______________________________________
                                            FRANK C. DAMRELL, JR.
16
                                            UNITED STATES DISTRICT JUDGE
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